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B 2100A (Form 2100A) (12/15)



                         UNITED STATES BANKRUPTCY COURT
                                            Northern District
                                            __________        of Illinois
                                                         District    Of __________

In re ________________________________,
      DAWN BITTER and JOHN BITTER                                                                 Case No. ________________
                                                                                                            1704357




                    TRANSFER OF CLAIM OTHER THAN FOR SECURITY
A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.



  Peritus Portfolio Ser II, LLC | Wollemi Acquisitions
______________________________________                                       SANTANDER CONSUMER USA, INC.
                                                                            ____________________________________
          Name of Transferee                                                           Name of Transferor

Name and Address where notices to transferee                                Court Claim # (if known):      1
should be sent:                                                             Amount of Claim:       $15053.56
  PO Box 141419 Irving TX 75014-1419                                        Date Claim Filed:       3/8/2017
  bankruptcy@peritusservices.com

         866 831 5954
Phone: ______________________________                                       Phone:
Last Four Digits of Acct #: ______________
                                 0565                                       Last Four Digits of Acct. #: __________

Name and Address where transferee payments
should be sent (if different from above):
  Same as above


Phone:
Last Four Digits of Acct #:



I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

    /s/Georgina Yarbrough
By:__________________________________                                             10/23/2017
                                                                            Date:____________________________
        Transferee/Transferee’s Agent


Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
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